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 5
 6                     IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,              )
                                            )    2:09-cr-00170-GEB
10                  Plaintiff,              )
                                            )
11             v.                           )    ORDER
                                            )
12   ROBERT L. CARR, THERESA ANN            )
     CARR,                                  )
13                                          )
                   Defendants.              )
14   ________________________________       )

15             This action was scheduled to proceed with sentencing on March

16   15, 2013. Relevant procedural history is recounted to provide necessary

17   background for the instant order.

18        A.   Procedural History

19             On February 17, 2012, Defendant Robert Carr entered guilty

20   pleas to Counts 1, 2, and 69 of the Superseding Indictment pursuant to

21   a conditional plea agreement, and sentencing was scheduled for May 18,

22   2012. (See ECF Nos. 52, 55.)     However, at the start of the May 18, 2012

23   hearing, Mr. Carr’s former counsel stated as follows:

24                  Your Honor, this morning Robert Carr, pursuant
               to Rule 11(d)(2)(B), would like to withdraw the
25             guilty pleas that he entered on February 17th of
               this year. He cannot afford a private attorney to
26             file the motion for him. He’s informed me he would
               like a different appointed lawyer to help him file
27             the motion to withdraw the pleas to Counts 1, 2 and
               69. He would like that new attorney to review the
28             work I did for him, to review the advice that I
               gave him concerning trial and plea agreement

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 1                issues, and to determine if Mr. Carr can show a
                  fair and just reason for requesting the plea
 2                withdrawal.
 3   (Rep. Tr. of May 18, 2012 Proceedings 1:18-2:3, ECF No. 65.) An in
 4   camera hearing was held on May 18, 2012 (“in camera hearing”) in
 5   connection with Mr. Carr’s request for new counsel, and Mr. Carr’s
 6   request for new counsel was granted. (Id. at 6:18-7:3.) Jan Karowsky was
 7   substituted as Mr. Carr’s counsel on May 30, 2012. (ECF No. 62.)
 8                On July 24, 2012, Mr. Carr filed a “Notice of Motion and
 9   Motion to Withdraw Guilty Pleas,” in which he states:
10                This motion will be based upon a Memorandum of
                  Points And Authorities, to be filed if Robert Carr
11                chooses to proceed with the instant motion to
                  withdraw his pleas, the court records and
12                pleadings, and on any evidence and argument that
                  may be presented to the Court at the hearing.
13
14   (ECF No. 71.)     No memorandum of points and authorities was ever filed in
15   connection with that notice of motion, and the motion was never noticed
16   for hearing.1
17                A status conference was held on October 5, 2012, during which
18   sentencing was scheduled for December 21, 2012. (ECF No. 74.) On
19   December    10,   2012,   the   parties   filed   a   “Stipulation   to   Continue
20   Sentencing and Establish New PSR Disclosure Schedule,” in which they
21   state in part:
22                     On February 17, 2012, Robert Carr and Theresa
                  Carr, respectively, entered pleas of guilty,
23                pursuant to written plea agreements with sentencing
                  set for May 18, 2012. On May 18, 2012, Robert Carr
24                appeared in Court and requested new counsel.
25                     Thereafter, on May 30, 2012, new counsel was
                  appointed to represent him – attorney Jan Karowsky
26                – in order to advise him relative to the
27
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28             As explained infra, Mr. Carr verbally withdrew this motion at
     the status conference held on October 5, 2012.

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 1                  possibility of moving to withdraw his guilty plea.
                    Sentencing was again continued until October [5],
 2                  2012, at which time, Mr. Carr reaffirmed his plea
                    of guilty and sentencing was set for December 21,
 3                  2012.
 4                  . . . . [T]he sentencing date . . . cannot be met.
                    Therefore, after consulting all parties, we are
 5                  requesting the Court continue the Sentencing
                    Hearing now set for December 21, 2012 at 9:00 a.m.
 6                  to the date of January 25, 2013 at 9:00 a.m.
 7   (ECF No. 75, 1:20-2:13.)        At the January 25, 2013 hearing, sentencing was
 8   continued to February 8, 2013. (ECF No. 77.)
 9                  On February 6, 2013, Mr. Carr filed a “Memorandum” in which he
10   “ask[s]    the    Court   to   invalidate     Mr.   Carr’s   guilty   plea   based   on
11   constitutional invalidity.” (Robert Carr’s Mem., ECF No. 78.) Mr. Carr
12   states in the Memorandum: “[b]ased on the [sealed] transcript of the
13   . . . in camera hearing [(“sealed transcript”)] . . . , [h]e believe[s]
14   the plea is not constitutionally valid.” (Id.) The February 6, 2013
15   Memorandum was not accompanied by a notice of motion, memorandum of
16   points and authorities, or other supporting documentation.
17                  In light of Mr. Carr’s February 6, 2013 filing, in which he
18   relied on a sealed transcript to support a motion made on the public
19   docket, the Court issued a lengthy minute order on February 7, 2013,
20   which ordered Mr. Carr to show cause (“OSC”) why certain portions of the
21   sealed transcript should not be made public. (ECF No. 79.) A briefing
22   schedule concerning the OSC was established at the court proceeding held
23   on February 8, 2013, and a further status conference was scheduled for
24   March 15, 2013. (ECF No. 80.)
25                  Mr. Carr filed a response to the OSC on February 21, 2013, in
26   which     he    “object[ed]     to   having     any   portion    of    the   [sealed]
27   transcript . . . filed on the public docket . . . .” (Robert Carr’s
28   Resp. to OSC 1:24-25, ECF No. 81.) In essence, Mr. Carr argued that


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 1   certain   portions   of   the   sealed   transcript   reference   confidential
 2   attorney-client communications between Mr. Carr and his former counsel,
 3   and other portions “arguably [constitute] incriminating statements.”
 4   (Id. at 2:9-3:2.) Mr. Carr also indicated in his response that making
 5   portions of the sealed transcript public “unnecessarily exposes the
 6   Defendant’s confidential communications and it exposes him to the
 7   possibility of criminal prosecution, both of which he was promised at
 8   the in camera hearing would not occur.” (Id. at 2:23-3:2.)
 9              A second OSC was filed on February 22, 2013, which directed
10   Mr. Carr to file a document “on the public docket no later than . . .
11   February 27, 2013, [identifying] the page(s) and lines in the sealed
12   transcript . . . that supports” the following statement in his February
13   21, 2013 Response: “both of which he was promised at the in camera
14   hearing would not occur.” (ECF No. 82, 1:13-19 (internal quotation marks
15   omitted).) The February 22, 2013 OSC also provided Mr. Carr a further
16   opportunity to show cause why certain portions of the sealed transcript
17   should not be made public, in light of the fact that Mr. Carr based his
18   February 6, 2013 Memorandum, which “ask[s] the Court to invalidate [his]
19   guilty plea[,]” on the sealed transcript. (Id. at 1:19-3:3.)
20              Mr. Carr filed a Response to the second OSC on February 27,
21   2013, which states in full: “Robert Carr relies on the sealed transcript
22   of the in camera hearing held on May 18, 2012, at 6:24 – 7:7 to support
23   the statement in Mr. Carr’s response on February 21, 2013 that ‘. . .
24   both of which he was promised at the in camera hearing would not
25   occur.’” (Robert Carr’s Resp. to Second OSC, ECF No. 83.)
26              Since Mr. Carr did not provide sufficient justification to
27   keep private the identified portions of the sealed transcript, redacted
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 1   copies of the sealed transcript were filed on March 6, 2013 and March 7,
 2   2013. (See ECF Nos. 84, 85.)
 3               Thereafter, in preparation for the March 15, 2013 proceeding
 4   scheduled   in   this   case,   the   Court   reviewed   the   public   docket   to
 5   determine its status. During that review, the Court saw that Mr. Carr’s
 6   July 24, 2012 “Notice of Motion to Withdraw Guilty Pleas” appeared to be
 7   outstanding. Further, the Court had not yet ruled on Mr. Carr’s February
 8   6, 2013, informal request “to invalidate Mr. Carr’s guilty plea based on
 9   constitutional invalidity.” Therefore, an order was filed on March 14,
10   2013, denying these filings on the grounds that they did not comply with
11   Federal Rule of Criminal Procedure 47 and Local Rule 430.1. (ECF No.
12   86.)
13               Upon reflection, the Court now recalls that during the October
14   5, 2012 status conference, Mr. Carr verbally withdrew his July 24, 2012
15   “Notice of Motion to Withdraw Guilty Pleas” and indicated that the case
16   should proceed with sentencing. However, the docket did not reflect Mr.
17   Carr’s oral withdrawal. Therefore, the portion of the March 14, 2013
18   order which denied Mr. Carr’s July 24, 2012 filing was unnecessary and
19   is null.
20               The March 14, 2013 order also scheduled sentencing to commence
21   at 9:00 a.m. on March 15, 2013.
22          B.   Defendant Robert Carr’s Current Intended Motion to Withdraw
23               Guilty Pleas
24               On March 14, 2013, Defendant Robert Carr filed a “Memorandum”
25   in which he states, in relevant part, as follows:
26                    It is the defense’s position that Mr. Carr did
                 not have a formal motion to withdraw his guilty
27               pleas on file; did not know such a motion was to
                 have been on file at this time; and in fact, had
28               conversations with AUSA Samuel Wong as late as this
                 morning, March 14, 2013, agreeing to a briefing

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 1               schedule for the defense to file such a motion and
                 the government to respond.
 2
                      We believe that to proceed to sentencing on
 3               March 15, 2013 will deny Mr. Carr the fundamental
                 right to bring such a motion to withdraw his guilty
 4               pleas; will deny him due process of law by denying
                 him the right to formally bring such a motion; and
 5               will be fundamentally unfair to him.
 6                    We ask that tomorrow a briefing schedule be
                 set to allow Mr. Carr time to file a formal motion
 7               to withdraw his guilty pleas based on actual
                 innocence and constitutionally defective guilty
 8               pleas.
 9   (ECF No. 87.)
10               In light of Mr. Carr’s March 14, 2013 Memorandum, and the
11   inconsistent positions Mr. Carr has taken in this action concerning his
12   desire to withdraw his pleas, the Court discussed with the parties
13   during the March 15, 2013 hearing their current positions on this issue.
14   Mr. Carr stated his desire to file a noticed motion to withdraw his
15   guilty pleas.
16               The government responded with its position, raised for the
17   first time, that Mr. Carr has waived his right to move to withdraw his
18   plea. It is incomprehensible to the Court why the government did not
19   file a writing prior to the March 15, 2013 hearing setting forth this
20   contention, especially in light of the fact that Mr. Carr renewed his
21   desire to withdraw his pleas in his Memorandum filed on February 6,
22   2013.
23               The government also indicated that it intends to oppose Mr.
24   Carr’s motion on the merits, if its waiver argument is unsuccessful.
25               In light of the amount of time that this case has been
26   pending, Mr. Carr’s inconsistent positions on whether he desires to move
27   to withdraw his pleas, and the government’s failure to timely apprise
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 1   the Court of its position concerning Mr. Carr’s intended motion, the
 2   following briefing and hearing schedules issue:
 3                1)   Motion to Withdraw Pleas
 4                If Mr. Carr intends to move to withdraw his pleas, such motion
 5   shall be filed no later than March 29, 2013;
 6                Any opposition to Mr. Carr’s motion shall be filed no later
 7   than April 12, 2013; and
 8                Any reply regarding Mr. Carr’s motion shall be filed no later
 9   than April 26, 2013.
10                2)   Government’s Waiver Argument
11                The government shall file its brief concerning whether Mr.
12   Carr has waived his right to move to withdraw his plea no later than
13   March 29, 2013;
14                Any opposition to the government’s brief shall be filed no
15   later than April 12, 2013; and
16                Any reply shall be filed no later than April 19, 2013.
17                If Mr. Carr fails to file a motion to withdraw his pleas by
18   the above-referenced deadline, sentencing is scheduled to commence at
19   9:00 a.m. on April 26, 2013; if Mr. Carr timely files a motion to
20   withdraw his pleas, the two referenced matters are scheduled for hearing
21   on April 26, 2013.
22   Dated:    March 18, 2013
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                                         GARLAND E. BURRELL, JR.
25                                       Senior United States District Judge

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